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UNITED STATES BANKRUPTCY COURT
EASTERN DlSTRlCT COURT

 

In re

X
JESSICA BOISSARD Bankruptcy Case: 8-18*77715-ast

Return Date and Time:
January 31, 2019 at 10130 am

Debtor Chapter 7

AFFIRMATION IN OPPOSITION

 

~- X
Ernest E. Ranalli, Esq., an attorney admitted to practice in the Courts of the State

of Nevv York and the Eastern District of NeW York affirms the following under the

penalty of perjury:

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That l represent the Debtor in the above referenced case.
l am familiar vvith the facts and circumstances of this matter based upon the

records maintained by office pertaining to this matter

. l make this Affirmation in Opposition to the motion of the entity named

Specialized Loan Servicing, LLC, as Servicer for the Banl< of Nevv Yorl< Mellon
in this matter.

l\/iy office Was never served With hardcopy paperwork in this matter. Based upon
this fact alone the motion should be denied.

When l did not receive the motion paperwork, l contacted movant’s counsel to
advise me of that fact.

Despite this request, my office has still not received a copy of this motion in the

mail.

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Movant’s counsel also alleges that they mailed a copy of this application to
Baldeo Ramsamooj at 74 Yarnell Street, Brentwood, New Yorl< ll7l7.

Movant knows or should know that Baldeo Ramsainooj resides in Queens at the
address where they served him with the Summons and Complaint in the
foreclosure action.

Even if this Court overlooks the technicality with respect to the service of the
motion, the relief requested should be denied‘because the movant lacks standing
and the Estate has a potential asset to administer.

lt is clear that the owner of the note and mortgage is The Banl< of New York
Mellon.

Counsel for the movant neglects to advise this Court that the underlying
foreclosure action is under appeal with the Second Departinent for the State of
New Yorl<. A copy of the Supplemental Record on Appeal coversheet is attached
to these responsive papers as Exhibit A.

'l`he paperwork submitted to this Couit does not contain any affidavit from the
secured creditor.

No evidence has been presented to this Court that Specialized Loau Servicing,
LLC, should be permitted to foreclose

This case is similar to another matter previously heard by this Court, which was

ln Re Patricia l\/l. Reilly, Case No: 14~74392.

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ln that case, this Court denied chen permission to seek relief from the automatic
stay. A copy of the Order of the Honorable Alan S. Trust, United States
Bankruptcy Judge, dated February 4, 2015, is attached to these responsive papers
as EXhibit B.

Based upon the fact that the movant lacks standing to make this application, this
Court should deny this motion.

ln the event that the Appellate Division reverses the decision of the Supreme
Couit pertaining to the granting of summary judgment in the foreclosure action,
the note holder may not be able to commence another action because the Statute
of Limitations may expire See CPLR §213(4).

lt is undisputed that the debt was previously accelerated by the filing of a
foreclosure action on a prior action on .lanuary 30, 2015.

As such, that is the date that the Statute of Limitations begins to run. Wells Fargo
chk, NA v. Burke, 94 AD?)d 980 [2d Dept 2012]; Fedel‘al Natiomzl Morrgage
Assocz'ai'z'on v. Mebane, 208 AD 892 [2d Dept 1994]; EMC Morl'gage Corp. v.
Parella, 279 AD2d 604[2d Dept 2001].

In l\/iebane, supra, the Court stated the following in pertinent part:

“However, “even if a mortgage is payable in installments once a mortgage debt
is accelerated, the entire amount is due and the Statute of Limitations begins to
run on the entire debt,” citing EMC Morz‘gage Corp v Palella, 279 ADZd 604,
605 [2d Dept 2001]; see Lavz`z/z v. Elr)iakis, 302 ADZd 638, 639 [2d Dept 2003];

Zz`nker v. Makler, 298 ADZd 516, 517[2d Dept 2002]).”

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Not surprising, the Appellate Division for the Second Departnient has recently
ruled that the measuring date for determining when the Statute of Limitations
accrues is the commencement date of the prior action Venrt/res T)"usr 2013-f-H-T
by MCM Parrners, LLC v. Chz`l'bahal, 2018 WL 6332341 [2d Dept 2018].

The limitations period begins to run on the entire debt when the mortgagee elects
to accelerate the mortgage US chk, N.A. v. Mclrtz'n, 144 ADSd 891 [2d Dept
2016]; EMC Mz‘ge. Corp. v. Smith, 18 AD3d 602 [2d Dept 2005] ; Loz'acono v.
Goldberg, 240 ADZd 476 [2d Dept 1997].

Acceleration of a mortgage is accomplished by an unequivocal overt act
demanding full payment The filing of a complaint in a foreclosure action
constitutes such an act. Goldman Sachs l\/lortgage Co. v. l\/lares, 135 AD3d 1121
[3d Dept 2016]`

In this case, the plaintiff would have until January 30, 2021, to commence another
action, if the pending foreclosure action ultimately gets dismissed

Because two foreclosure actions may not be prosecuted at the same time, plaintiff
must wait until the Appellate Division renders a decision See CPLR §321l(a)(4).

Due to the fact that Plaintiff did not file their paperwork with the Appellate
Division as quickly as they could have, it is possible that a decision will not be
rendered by that Court before January 30, 2021.

lt is possible that the Plaintiff7 s note and mortgage will be of no force and effect

and that the Estate will have a free and clear asset to sell.

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Wherefore, it is respectfully requested that this Court deny the motion,
together with such other and further relief as this Court determines to be just and
proper.

Dated: January 23, 2019
Hauppauge, New York 11788
THE RANALLI LAW GROUP, PLLC
Attorneys for Debtor

s/ Ernest E. Ranalli

By: Ernest E. Ranalli, Esq.

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(631) 979-1461

To

Office of the United States Trustee

Eastern District of New York, Central lslip Division
Christine H. Black, Assistant U.S. Trustee

Alfonse D’Amato Federal Courthouse

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R. Kenneth Barnard, Esq.
Chapter 7 Trustee

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EXHIBIT A

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New York Supreme Court
Appe||ate Division-Second Department

 

THE BANK OF NEW YORK MELLON F/K/A App. Div. No.
THE BANK OF NEW YORK, AS TRUSTEE FOR 2017-10725
THE CERTIFICATE HOLDERS OF CWABS, INC., 2017-10785
ASSET-BACKED CERTIFICATES, SERIES 2007 -1, 2018-06948
2018-07925
PZal`nrl`ff-Respondem,
-agaz`nst-
BALDEO RAMSAMOOJ,
Defendcmt.
JESSICA BOISSARD,

Defendanl'-Appellant

“John Does” and “Jane Does,” said names being tictitious, parties intended
being possible tenants or occupants of premises and corporations, other
entities or persons Who have, claim, or may claim, a lien against, or other

interest in, the premises,
Defendcmrs.

 

SUPPLEMENTAL RECORD ()N APPEAL

 

THE RANALLI LAW GROUP, PLLC
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emal'l.‘

Suffolk County Clerk’s Index No. 2015-600922

 

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EXHIBIT B

 

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Case 8-14-74392-ast Doc 14 Filed 02/04/15 Entered 02/04/15 13:45:11

UNITED STATES BANKRUPTCY C()URT
EASTERN DISTRICT OF NEW YORK

 

ln re:
Case No.: 14-74392-ast
Patricia M. Reilly, Chapter 7

Debtor.

 

X

ORDER DENYING MOTION F()R
RELIEF FR()M THE AUTOMATIC STAY

On November 12, 2014, chen Loan Servicing, LLC, as servicer for Deutsche Bank
National Trust Company, as Trustee of IndyMaX INDX Mortgage Trust 2007-AR5, l\/[ortgage
Pass~Through Certificates, Series 2007-AR5 (“chen” or “l\/lovant”) filed a Motionfor Order
Pursuanl to Sectl'on 362(11’) ofthe United States Baner/ptcy Code Annulll`ng the Aufomatl`c Stay
Nunc Pro Tunc (the “l\/lotion”). [dkt item 9]

On December 8, 2014, the above-captioned debtor, Patricia Reilly (the “Debtor"”) filed an
Afflrmarl’on in Oppositl'on to the Relz'efRequested by Movam (the “Objection”). [dkt item 10]

On December 18, 2014, the Court conducted a hearing on the Motion and took the matter
on submission

ln the l\/lotion, chen asserted that it had obtained a judgment of foreclosure against
Debtor’s real property located at 31 Pine Acre Drive, Smithtown, NY 117 87 (the “Property”),
and that it conducted a foreclosure sale on September 25, 2014 at 9;15 a.m. (the “Foreclosure”)
See l\/lotion, 1111 14-16. The night before the Foreclosure, on September 24, 2014 at 8:27 p.m.,
Debtor filed her Chapter 7 bankruptcy case. Id, 11 17. However, chen did not have knowledge
of the bankruptcy when it foreclosed, despite having followed their pre_foreclosure sale

guidelines Id, j 16.

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ln her Objection, Debtor asserted, inter alia, that chen did not have the requisite
standing to request the Court annul the automatic stay pursuant to § 362(d)(4) of the Bankruptcy
Code as it was not the proper party in interest to the Foreclosure . See Objection, 1111 30-32, 38,
43-44. The foreclosure judgment is in favor of One Wesr Bank, FSB as Successor in ]nterest 10
Indymac Fea’eml Bank, FSB;1 the party seeking stay relief is chen. No evidence has been
presented to this Court that chen had the right under state law to conduct the Foreclosure either
in its own stead or on behalf of OneWest.

As a result, C)cwen has not established that it has jurisprudential standing to seek relief
from the automatic stay. See ]n re Escobar, 457 B.R. 229, 236-242 (Bankr. E.D.N.Y. 2011).
ln light of the foregoing, it is hereby

ORDERED, that the Motion is DENIED without prejudice

Alan S. Trust
United States Bankruptcy Judge

Dated: February 4, 2015
Hs lp, eW York

 

1 . en l.‘a.
See Motion, Exhibit

